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UNITED STATES DISTRICT COURT

for the
EASTERN Distriet ofLOUlSIANA

United States of America
V.

BRAD l\/IILLIGAN

)
)
) Case No. 18-027 G
)
)

Dej`e rra/amf-

APPEARANCE BOND

Defendant’s Agreement
l, BRAD MILLIGAN (dejiszrmr), agree to follow every order of this court, or any
court_tl_tat consider?hiscase` andimter¢ag:ee that this gond may be forfeited ii`l fail'.
( X ) to appear for court proceedings;
X ) if convicted, to surrender to serve a sentence that the court may impose; or
X ) to comply with all conditions set forth in the Order Setting Conditions ofRelease.

Type of Bond
( ) (l) This is a personal recognizance bond.

( ./j (2) 'I`his is an unsecured bond of$ /C) "CC_)CJ_<_",':.: 7 7

( ) (3) 'I`his is a secured bond of$ _ __, secured by:

( ) (a) $ , in cash deposited with the court
( ) (b) the agreement ofthe defendant and each surety to forfeit the following cash or other property
rda_vcri`be the cash or other .,')rr);)e)'ly, including claims orr if - such as n ."r`en. Hm.".'_smge. or loan - ctrch attach pronfo

trainers/rip ciml vcu'tt€):

 

 

 

ll`thisiboh_dis- secured by real property, dot:tunems_to p_roEtUsecqud interest n_tay be filed-ofrecord. 7

( ) (C) a ball l)()ttt'_l Wifl'l a SOlVB|`li Sttt`€'ty (a.ffctc'h cr copy ofrhc bail bond orr/ascribe 1`!anr!i`r[e)rf!_[i)fize szzre!y)!
U Persona| Surety Ll Commercial Surely

 

Forfeiturc or Release of the Bond

["`or_'feimre off/ve Bond. This appearance bond may be forfeited ifthe defendant does not comply with the above
agreement The court may immediately order the amount of the bond surrendered to the United States, including the
security for the bond, ifthe defendant does not comply with the agreement At the request ofthe United States, the court
may order a judgment of forfeiture against the defendant and each surely for the entire amount of the bond, including
interest and costs

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DEFENDANT: BRAD l\/IILLIGAN CASE NO.:IS~GZ'] G

Reiea.\'e Q)"the Bc)nci. The court may order this appearance bond ended at any time. This bond will be satislied and the
security will be released when either: (l) the defendant is found not guilty on all charges, or (2) the defendant reports to
serve a sentence

Deelarations

Ownership off/te Pri)per!y. l, the defendant f and each surety f declare under penalty of perjury that:

(l) all owners ofthe property securing this appearance bond are included on the bond;
(2) the propeity is not subject 10 claims, except as described above; and
(3) l will not sell the property, allow further claims to be made against it, or do anything to reduce its value

while this appearance bond is in effect

Accepiance. l, the defendant ~ and each surety f have read this appearance bond and have either read all the conditions
of release set by the coutt or had them explained to me. I agree to this Appearance Bond_

/"

l, the defendant- and each surety - declare under penalty of perjury that this infonnationi_is tque/ZB"U.S.C. § 1746.)

  

 

 

Srrre.[u"prr)pert)»' owner - printed name *'/ t§`irr‘er]»,'j')r‘o})ei‘{v owner - signature and date

S 1 rre{v/`prr)pertj-' r)'.vner - printed name

 

 

 

 

 

 

51 trent/property owner - St`gnn.'nre and dale

 

 

 

 

 

Sirre.'_t.:.»jr)rr)perty r)'.t'ner 4 printed name

Sn."etj»r,'r)rr)per!_t»' turner - signature and date

JUDICIAL OFF]CER/CLERK OF C()URT

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Date: _1\ fl\ll&,

Approved.

Date:

 

Mcrgi.s'trcne .lteri,§ek}trri@i.i‘rignatnre

